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                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF TEXAS
                              DALLAS DIVISION

MELISSA BEAM,

       Plaintiff,

v.                                                 Case No. 3:19-cv-01201-M-BT

CALIBER HOME LOANS, INC., et al.,

       Defendants.


     ORDER MODIFYING AND OTHERWISE ACCEPTING FINDINGS,
         CONCLUSIONS, AND RECOMMENDATION OF THE
              UNITED STATES MAGISTRATE JUDGE

       The Court has under consideration the Findings, Conclusions, and

Recommendation of United States Magistrate Judge Rebecca Rutherford dated

August 27, 2020. The Court has made a de novo review of those portions of the

proposed Findings, Conclusions, and Recommendation to which objections were

made. The objections are overruled, except that the Court will permit Plaintiff to

amend to attempt to plead facts that Ecliptic was on notice of facts that prevented

it from being a bona fide purchaser.

       SO ORDERED, this 1st day of October, 2020.




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